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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,            CR. NO. 2:09-380 WBS
13                Plaintiff,              ORDER RE: MOTION TO REDUCE
                                          SENTENCE PURSUANT TO 18 U.S.C. §
14        v.                              3582(c)(2)
15   HECTOR CARRETERO-FLORES,
16                Defendant.
17

18                                ----oo0oo----

19             Before the court is defendant Hector Carretero-Flores’

20   Motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2)

21   and Amendment 782 of the United States Sentencing Guidelines

22   (“Guidelines”).    (Def.’s Mot. (Docket No. 288).)       The government

23   has filed a statement of non-opposition and stipulation to reduce

24   defendant’s sentence.     (Gov’t’s Statement of Non-Opp’n (Docket No

25   315); Stipulation (Docket No. 314).)

26             On August 18, 2010, defendant entered into a plea

27   agreement with the government whereby he agreed to plead guilty

28   to one count of conspiracy to manufacture over 1,000 plants of
                                         1
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1    marijuana in violation of 21 U.S.C. §§ 841(a)(1) and 846.         (Plea

2    Agreement at 1 (Docket No. 71).)        The United States Probation

3    Office filed a presentence report on defendant, recommending a

4    total offense level of 25 and a criminal history category of III.

5    (Presentence Report (“PSR”) ¶ 52.)         Defendant’s offense level and

6    criminal history category yielded a Guidelines sentencing range

7    of 70 to 87 months in prison.      (Id.)    Defendant’s conviction

8    under 21 U.S.C. § 841, however, subjected him to a mandatory

9    minimum sentence of 120 months.      (Id.)    The government

10   recommended a downward departure from the mandatory minimum to a

11   sentence of 90 months under section 5K1.1 of the Sentencing

12   Guidelines.     (Stipulation at ¶ 3.)

13             The court held a sentencing hearing on defendant on

14   March 14, 2011.     (Docket No 102.)    At the hearing, the court

15   sentenced defendant to 90 months in prison.         (Id.)

16             Defendant now moves to reduce his sentence pursuant to

17   Amendment 782 and 18 U.S.C. § 3582(c)(2) (“section 3582(c)(2)”).

18   (Def.’s Mot.)    Section 3582(c)(2) allows a federal court to

19   “modify a term of imprisonment” where “a defendant [was]

20   sentenced . . . based on a sentencing range that has subsequently
21   been lowered by the [United States] Sentencing Commission.”           18

22   U.S.C. § 3582(c)(2).     Amendment 782, promulgated by the

23   Commission in November 2014, reduced the offense level of many

24   drug crimes listed in the Guidelines’ drug quantity table by two

25   levels, resulting in lower sentencing ranges in some cases.

26   United States v. Mitchell, No. 112-CR-00199-LJO-SKO, 2016 WL
27   4161082, at *1 (E.D. Cal. Aug. 4, 2016).        The parties agree that

28   defendant’s total offense level under Amendment 782 is 23, (see
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      Case 2:09-cr-00380-WBS Document 329 Filed 11/28/16 Page 3 of 3


1    Stipulation ¶ 4; Def.’s Mot. at 1), which results in an amended

2    sentencing range of 57 to 71 months, see U.S.S.G. Ch. 5, Pt. A.

3              Though the government does not oppose defendant’s

4    Motion and has stipulated to reduce his sentence to 70 months,

5    (Stipulation ¶ 6), the court does not have jurisdiction under

6    section 3582(c)(2) to approve that stipulation.         Section

7    3582(c)(2) only authorizes sentence reductions where “a defendant

8    [was] sentenced . . . based on a sentencing range that has

9    subsequently been lowered by the Sentencing Commission.”          Here,

10   it is clear defendant was not sentenced based on a Guidelines

11   sentencing range.    His sentence was based on a government-

12   recommended sentence that was still above the maximum sentence of

13   his Guidelines sentencing range.        (See id. ¶¶ 2-3.)    Because

14   defendant was not sentenced “based on a sentencing range that has

15   subsequently been lowered by the Sentencing Commission,” the

16   court does not have jurisdiction to reduce his sentence under

17   section 3582(c)(2).    Accordingly, the court must deny his Motion.

18             IT IS THEREFORE ORDERED that defendant’s Motion to

19   reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) (Docket

20   No. 288) be, and the same hereby is, DENIED.
21   Dated:   November 28, 2016

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